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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

__________________________________________
SECURITIES AND EXCHANGE COMMISSION :
                                           :                CASE NO.: 17cv4179 (DLC)
                        Plaintiff,         :
                                           :                CERTIFICATE OF SERVICE
v.                                         :                OF NOTICE OF INITIAL
                                           :                PRETRIAL CONFERENCE
ALPINE SECURITIES CORPORATION,             :                AND THE COURT’S
                                           :                INDIVIDUAL PRACTICES
                        Defendant.         :
__________________________________________:

       On July 5, 2017, Counsel for Plaintiff Securities and Exchange Commission served

the Court’s Notice of Initial Pretrial Conference (Dkt. 10) and the Court’s Individual

Practices by email on counsel for Defendant:

       Mark Smith, Esq.
       SMITH CORRELLLLP
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       50 West Broadway, Suite 1010
       Salt Lake City, UT 84101
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       Fax: (877) 730-5910
       msmith@smithcorrell.com

Dated: July 7, 2017

                                      Respectfully submitted,


                                      /s/ Zachary T. Carlyle
                                      Gregory A. Kasper (NY2735404; SDNY GK6596)
                                      Zachary T. Carlyle (pro hac vice)
                                      Terry E. Miller (pro hac vice)
                                      Attorneys for Plaintiff
                                      UNITED STATES SECURITIES AND
                                      EXCHANGE COMMISSION
                                      1961 Stout Street, 17th Floor
                                      Denver, Colorado 80294
                                      (303) 844-1000
      Case 1:17-cv-04179-DLC Document 11 Filed 07/07/17 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2017 I served a true and correct copy of the foregoing
by email to the following:

       Mark Smith, Esq.
       SMITH CORRELLLLP
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                                                       /s/ Marla J. Pinkston
                                                       Marla J. Pinkston




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